           Case 2:21-bk-18337-BR                      Doc 2 Filed 11/01/21 Entered 11/01/21 11:24:22                                    Desc
                                                      Main Document    Page 1 of 24
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

  Ý»²¬®¿´                               Ý¿´·º±®²·¿
 ____________________ District of _________________
                                        (State)
 Case number (If known): _________________________ Chapter _____     ïï                                                               Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           Í³¿®¬»® Þ«·´¼·²¹ Ì»½¸²±´±¹·»- ß´´·¿²½»ô ×²½ò
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ÜÞßæ Ù´«»¼ Í±´«¬·±²- ñ ÍÞÌ ß´´·¿²½» ñ ÍÞÌ
                                              ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer               ìêóëðîîìëð
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                         of business

                                              êéðð Ûò Ð¿½·º·½ Ý±¿-¬ Ø©§
                                              ______________________________________________             _______________________________________________
                                              Number     Street                                          Number     Street

                                              Í«·¬» îíë
                                              ______________________________________________             _______________________________________________
                                                                                                         P.O. Box

                                              Ô±²¹ Þ»¿½¸                     Ýß         çðèðí
                                              ______________________________________________             _______________________________________________
                                              City                        State    ZIP Code              City                      State      ZIP Code


                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                              Ô±- ß²¹»´»- Ý±«²¬§
                                              ______________________________________________
                                              County                                                     _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




 5.   Debtor’s website (URL)                  ¸¬¬°-æññ-¾¬ó¿´´·¿²½»ò½±³ñ
                                              ____________________________________________________________________________________________________




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Debtor         Í³¿®¬»® Þ«·´¼·²¹ Ì»½¸²±´±¹·»- ß´´·¿²½»ô ×²½ò
              _______________________________________________________                           Case number (if known)_____________________________________
              Name



                                           ²
                                               Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
 6.   Type of debtor
                                               Partnership (excluding LLP)
                                               Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                               Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                               Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                               Railroad (as defined in 11 U.S.C. § 101(44))
                                               Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                               Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                               Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           ²
                                               None of the above


                                          B. Check all that apply:

                                               Tax-exempt entity (as described in 26 U.S.C. § 501)
                                               Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                               Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                               ìîíì___ ___ ___
                                               ___

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                           Chapter 7
                                               Chapter 9
                                          ²
                                               Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                         The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                               aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                           affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                          recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                           income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                             11 U.S.C. § 1116(1)(B).
      check the second sub-box.                             ²
                                                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                                noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                                Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                                statement of operations, cash-flow statement, and federal income tax return, or if
                                                                any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                § 1116(1)(B).

                                                                A plan is being filed with this petition.

                                                                Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).

                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                               Chapter 12




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Debtor           Í³¿®¬»® Þ«·´¼·²¹ Ì»½¸²±´±¹·»- ß´´·¿²½»ô ×²½ò
                _______________________________________________________                        Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases         ² No
       filed by or against the debtor
       within the last 8 years?                Yes. District _______________________ When _______________ Case number _________________________
                                                                                                MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                                District _______________________ When _______________ Case number _________________________
                                                                                           MM / DD / YYYY

 10.   Are any bankruptcy cases                No
       pending or being filed by a
       business partner or an
                                                         Í»» ß°°»²¼·¨ ï
                                           ² Yes. Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                      District _____________________________________________ When                __________________
       List all cases. If more than 1,                                                                                          MM / DD / YYYY
       attach a separate list.                       Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?                           ²
                                               Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                               district.

                                               A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12.   Does the debtor own or have         ²
                                               No
       possession of any real                  Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                        It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                        What is the hazard? _____________________________________________________________________

                                                        It needs to be physically secured or protected from the weather.

                                                        It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).

                                                        Other _______________________________________________________________________________



                                                    Where is the property?_____________________________________________________________________
                                                                               Number          Street

                                                                               ____________________________________________________________________

                                                                               _______________________________________         _______ ________________
                                                                               City                                            State ZIP Code


                                                    Is the property insured?

                                                        No
                                                        Yes. Insurance agency ____________________________________________________________________

                                                             Contact name      ____________________________________________________________________

                                                             Phone             ________________________________




               Statistical and administrative information




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                                                Main Document    Page 5 of 24
Debtor
              Í³¿®¬»® Þ«·´¼·²¹ Ì»½¸²±´±¹·»- ß´´·¿²½»ô ×²½ò
              _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney                   /s/ Eric Goldberg, Esq.                                            ïð ñ îç ñ îðîï
                                            _____________________________________________            Date        _________________
                                            Signature of attorney for debtor                                     MM   / DD / YYYY



                                             Û®·½ Ù±´¼¾»®¹
                                           _________________________________________________________________________________________________
                                           Printed name
                                            ÜÔß Ð·°»® ÔÔÐ øËÍ÷
                                           _________________________________________________________________________________________________
                                           Firm name
                                             îððð          ßª»²«» ±º ¬¸» Í¬¿®-ô Í«·¬» ìððô Ò±®¬¸ Ì±©»®
                                           _________________________________________________________________________________________________
                                           Number     Street
                                             Ô±- ß²¹»´»-
                                           ____________________________________________________
                                                                                                            Ýß           çððêéóìéðì
                                                                                                           ____________ ______________________________
                                           City                                                            State        ZIP Code

                                            øíïð÷ ëçëóíððð
                                           ____________________________________                             »®·½ò¹±´¼¾»®¹à«-ò¼´¿°·°»®ò½±³
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address



                                            ïëéëìì
                                           ______________________________________________________
                                                                                                   Ýß
                                                                                                  ____________
                                           Bar number                                             State




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                                          APPENDIX 1

         Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

         On the date hereof, each of the following entities, including the Debtor in this chapter 11
case, filed a voluntary petition for relief under chapter 11 of title 11 of the United States Code in
the United States Bankruptcy Court for the Central District of California:

                    Debtor                                             Tax ID#
 Smarter Building Technologies Alliance, Inc.
 Integrated Advanced Controls,
 Direct Discount Lighting, LLC




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1      Eric Goldberg (Bar No. 157544)
       Jonathan Serrano (Bar No. 333225)
2      DLA PIPER LLP (US)
       2000 Avenue of the Stars
3
       Suite 400, North Tower
4      Los Angeles, California 90067-4704
       Tel: 310.595.3000
5      Fax: 310.595.3300

6
       W. Benjamin Winger (pro hac vice admission pending)
7      DLA Piper LLP (US)
8      444 West Lake Street
       Suite 900
9      Chicago, Illinois 60606-0089
       Tel: 312.368.4000
10     Fax: 312.236.7516
11     Proposed Attorneys for Debtor
12     Smarter Building Technologies Alliance, Inc., et al.

13

14

15

16                           UNITED STATES BANKRUPTCY COURT

17                            CENTRAL DISTRICT OF CALIFORNIA
                             WESTERN DIVISION AT LOS ANGELES
18

19
       Smarter Building Technologies               Case No.
20     Alliance, Inc., et al.,
                                                   AFFIDAVIT REGARDING
21                             Debtors.            SUBCHAPTER V PETITION
                                                   ATTACHMENTS
22

23

24           The undersigned makes the following statement under penalty of

25     perjury:

26           1.     In accordance with 11 U.S.C. § 1116(1)(B), the undersigned

27     confirms that no statement of operations has been prepared, and,

28
                                            -1-
       Case No.
       WEST\296449756.1
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             OMNIBUS UNANIMOUS WRITTEN CONSENT
                 OF THE BOARD OF DIRECTORS OF
SMARTER BUILDING TECHNOLOGIES ALLIANCE, INC. ON BEHALF OF ITSELF
              AND ITS WHOLLY-OWNED SUBSIDIARIES

                                        October 29, 2021

                                     Board
Nevada corporation (the Company
and consents to the following resolutions            Resolutions    by written consent as of the
date hereof:

       WHEREAS, the Board has reviewed and considered the financial and operational
                                                    Subsidiary
 Subsidiaries                                Entity                      Entities

long-                                                                             , financial, and
restructuring advisors as to the relative risks and benefits of pursuing a bankruptcy proceeding
                                                                             Bankruptcy Code

       WHEREAS, the Board has determined that it is in the best interests of the Entities and the

provisions of subchapter 5 of chapter 11 of the Bankruptcy Code;

       WHEREAS, the Board wishes to approve and authorize the taking of actions and
execution of documents in connection with the foregoing.

       NOW, THEREFORE, BE IT:

        RESOLVED, in the business judgment of the Board, it is desirable and in the best interests
of the Company and its Subsidiaries, the creditors of the Company, and other interested parties of
the Company, that a voluntary petition (each, a Petition and collectivel      Petitions ) be filed
by the Company for each of the Entities with the United States Bankruptcy Court for the Central
                          Bankruptcy Court                             subchapter 5 of chapter 11
of the Bankruptcy Code; and it is further

        RESOLVED                                              Authorized Person
     Authorized Persons
.authorized, directed, and empowered, on behalf of and in the name of the Company and its
Subsidiaries (i) to execute and verify each Petition and all documents ancillary thereto, and to
cause each                                                                             Bankruptcy
Case                          Bankruptcy Cases
execution thereof any modifications to the Petitions or ancillary documents, and (ii) to execute,
verify, and file or cause to be filed all other petitions, schedules, lists, motions, applications,
declarations, affidavits, and other papers or documents necessary, appropriate, or desirable in
connection with the foregoing; and it is further;



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        RESOLVED, the law firm of DLA Piper LLP (US) be, and hereby is, authorized and
empowered to represent the Entities as bankruptcy counsel on the terms set forth in its engagement
letter with the Company, which is hereby ratified and approved, and to represent and assist the
Entities in carrying out their duties under the Bankruptcy Code, and to take any and all actions to

be filed contemporaneously with the Petitions or during the Bankruptcy Cases; and it is further

        RESOLVED, Rock Creek Advisors, LLC be, and hereby is, authorized and empowered
to serve as the financial advisor to represent and assist the Entities in carrying out their duties under

in connection with the Bankruptcy Cases; and it is further

        RESOLVED, the Authorized Persons be, and each of them, acting alone or in any
combination thereof, hereby is, authorized and empowered, on behalf of and in the name of the
Entities, to obtain the use of cash collateral, if any, on terms they deem necessary or desirable, and
to enter into any guarantees and to pledge and grant liens on their assets as may be contemplated
by or required under the terms of such Bankruptcy Court-approved cash collateral agreements, and
in connection therewith, the Authorized Persons are hereby authorized and directed to execute the
appropriate loan agreements, cash collateral agreements, and related ancillary documents, as
applicable; and it is further

        RESOLVED, the Authorized Persons be, and each of them, acting alone or in any
combination, hereby is, authorized, directed, and empowered, on behalf of and in the name of the
Entities, to secure the payment and performance of any Bankruptcy Court-approved postpetition
financing that they deem necessary or desirable by (i)(a) pledging or granting liens or mortgages

Subsidiaries to pledge or grant liens or mortgages or security interests in, all or any portion of such
             assets, whether now owned or hereafter acquired, and (ii) entering into or causing to
be entered into, including, without limitation, causing its subsidiaries to enter into such credit
agreements, guarantees, other debt instruments, security agreements, pledge agreements, control
agreements, inter-creditor agreements, mortgages, deeds of trust, and other agreements as are
necessary, appropriate, or desirable to effectuate the intent of, or matters reasonably contemplated
or implied by, this resolution in such form, covering such collateral and having such other terms
and conditions as are approved or deemed necessary, appropriate, or desirable by the Authorized
Persons executing the same, the execution thereof by such Authorized Persons to be conclusive
evidence of such approval or determination; and it is further

        RESOLVED, the Authorized Persons be, and each of them, acting alone or in any
combination, hereby is, authorized, directed, empowered, on behalf of and in the name of the
Entities, to perform the obligations of the Entities as debtors-in-possession under the Bankruptcy
Code, with all such actions to be performed in such manner, and all such certificates, instruments,
guarantees, notices, and documents to be executed and delivered in such form, as the Authorized
Persons performing or executing the same shall approve, and the performance or execution thereof
by such Authorized Persons shall be conclusive evidence of the approval thereof by such
Authorized Persons and by the Entities; and it is further
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        RESOLVED, the Authorized Persons be, and each of them, acting alone or in any
combination is, hereby authorized, directed, and empowered, in the name of and on behalf of the
Entities, to cause the Entities to enter into, execute, deliver, certify, file, record, and perform under
such agreements, instruments, motions, affidavits, applications for approval, or rulings of
governmental or regulatory authorities, certificates or other documents, to pay all expenses,
including filing fees, and to take such other actions as in the judgment of the Authorized Persons,
shall be necessary, proper, and desirable to prosecute a successful completion of the Bankruptcy
Cases and to effectuate the restructuring or liquidat
organizational form, and structure and ownership of the Entities, all consistent with the foregoing
resolutions and to carry out and put into effect the purposes of which the foregoing resolutions,
and the transactions contemplated by these resolutions, their authority thereunto to be evidenced
by the taking of such actions; and it is further

        RESOLVED
execution of any and all documents in connection with the foregoing be, and hereby is, consented
to, approved and ratified; and it is further

        RESOLVED, the Authorized Persons be, and each of them, acting alone or in any
combination, hereby is, authorized, directed, and empowered, on behalf of and in the name of the
Company, as the controlling person of each of its Subsidiaries, to take all actions, and execute such
further documents, as may be necessary or desirable, on behalf of each Subsidiary set forth in these
Resolutions, including, without limitation, a written consent by the Company, approving the
foregoing, and any actions,

         RESOLVED, all of the acts and transactions relating to matters contemplated by the
foregoing resolutions, which acts and transactions would have been authorized and approved by
the foregoing resolutions, which acts and transactions would have been authorized and approved
by the foregoing resolutions except that such acts and transactions were taken prior to the adoption
of these resolutions, be, and they hereby are, in all respects confirmed, approved, and ratified; and
it is further

      RESOLVED, facsimile or photostatic copies of signatures to these Resolutions shall be
deemed to be originals and may be relied on to the same extent as the originals.

                                      [Signature Pages Follow]
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       IT WITNESS WHEREOF, the undersigned, being the Board of the Company, hereby
executes these Resolutions effective as of the date first written above.

                                        SMARTER BUILDING TECHNOLOGIES
                                        ALLIANCE, INC.


                                        /s/ Benjamin Buchanan
                                        By: Benjamin Buchanan
                                        Its: Director


                                        /s/ Shane Acernese
                                        By: Shane Acernese
                                        Its: Director


                                        /s/ Rich Hanlon
                                        By: Rich Hanlon
                                        Its: Director


                                        /s/ Tony Garcia
                                        By: Tony Garcia
                                        Its: Director


                                        Derek Proudian
                                        By: Derek Proudian
                                        Its: Director




                             [Signature Page to Resolutions]
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                                      INTEGRATED ADVANCED CONTROLS,
                                      LLC

                                      /s/ Benjamin Buchanan
                                      By: Benjamin Buchanan, Authorized Person for
                                      Smarter Building Technologies, Inc.
                                      Its: Managing Member




                           [Signature Page to Resolutions]
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                                      DIRECT DISCOUNT LIGHTING, LLC

                                      /s/ Benjamin Buchanan
                                      By: Benjamin Buchanan, Authorized Person for
                                      Smarter Building Technologies, Inc.
                                      Its: Managing Member




                           [Signature Page to Resolutions]
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Integrated Advanced Controls, LLC - Filed contemporaneously herewith
Direct Discount Lighting, LLC - Filed contemporaneously herewith
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 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &      FOR COURT USE ONLY
 Email Address


 Eric Goldberg (Bar No. 157544)
 DLA Piper LLP (US)
 2000 Avenue of the Stars
 Suite 400, North Tower
 Los Angeles, California 90067-4704
 Tel: 310.595.3000
 Fax: 310.595.3300




      Attorney for: Smarter Building Technology Alliance, Inc.

                                        UNITED STATES BANKRUPTCY COURT
                            CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
                                                                               DIVISION

 In re:
 Smarter Building Technologies Alliance, Inc.                                CASE NO.:
                                                                             ADVERSARY NO.:
                                                                             CHAPTER: ïï
                                                             Debtor(s).



                                                                                   CORPORATE OWNERSHIP STATEMENT
                                                                                      PURSUANT TO FRBP 1007(a)(1)
                                                            Plaintiff(s),               and 7007.1, and LBR 1007-4



                                                                                                           [No hearing]
                                                         Defendant(s).



Pursuant to FRBP 1007(a)(1) and 7007.1, and LBR 1007-4, any corporation, other than a governmental unit, that is a
debtor in a voluntary case or a party to an adversary proceeding or a contested matter shall file this Statement identifying
all its parent corporations and listing any publicly held company, other than a governmental unit, that directly or indirectly
own 10% or more of any class of the corporation’s equity interest, or state that there are no entities to report. This
Corporate Ownership Statement must be filed with the initial pleading filed by a corporate entity in a case or adversary
proceeding. A supplemental statement must promptly be filed upon any change in circumstances that renders this
Corporate Ownership Statement inaccurate.

I, (Printed name of attorney or declarant) Benjamin Buchanan                                      , the undersigned in
the above-captioned case, hereby declare under penalty of perjury under the laws of the United States that the following
is true and correct:




            This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                             Page 1                 F 1007-4.CORP.OWNERSHIP.STMT
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        Fill in this information to identify the case:

        Debtor Name: Smarter Building Technologies Alliance, Inc., et al.

        United States Bankruptcy Court for the: Central District of California
                                                                                                              Check if this is an amended filing
        Case number (if known):


        Official Form 204

        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
        Unsecured Claims and Are Not Insiders                                                                                          12/15
        A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case.
        Include claims which the debtor disputes. Do not include claims by any person or entity who is an insider, as
        defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim
        resulting from inadequate collateralvalue places the creditor among the holders of the 20 largest unsecured
        claims.

                                                                                                               Amount of unsecured claim
                                                                                                          If the claim is fully unsecured, fill in only
                                                                                                        unsecured claim amount. If claim is partially
     Name of creditor          Name, telephone number,           Nature of the       Indicate if      secured, fill in total claim amount and deduction
      and complete               and email address of               claim (for        claim is           for value of collateral or setoff to calculate
     mailing address,              creditorcontact               example, trade     contingent,                         unsecured claim.
      including zip                                                debts, bank     unliquidated,
           code                                                       loans,        or disputed                   Deduction
                                                                   professional                      Total        for value           Unsecured
                                                                  services, and                     claim, if         of                claim
                                                                   government                       partially     collateral
                                                                    contracts)                      secured
                                                                                                                   or setoff

1.      Current             111 N. Market Street, Suite 648,         Trade            C, U, D           N/A             N/A           $472,000.00
        Powered by GE             San Jose, CA 95113
        / Daintree                    (617) 306-9289
                              [john.irvine@gecurrent.com]
        Networks Inc.

2.      Billd                 2700 W Anderson Ln, #206,             Trade              C, U            N/A            N/A              $950,857.67
        Exchange,                  Austin, TX 78757
        LLC                         (512) 270-4805

3.      Bank of            Bank of America Corporate Center       Bank Loan            C, U            N/A            N/A              $315,000.00
        America /               100 North Tryon Street
        PPP Loan                 Charlotte, NC 28255
                                    (888) 387-4637
4.      Bank of            Bank of America Corporate Center       Credit Card          C, U            N/A            N/A              $68,662.62
        America                 100 North Tryon Street
                                 Charlotte, NC 28255
                                    (888) 387-4637
5.      Legacy West         1502 Decatur Way, Rocklin, CA          Trade /             C, U            N/A            N/A              $32,610.00
        Ventures Inc.                   95765                    Professional
                                    (916) 757-5517                Services


6.      MacAusian             375 Redondo Ave, PMB 348              Trade              C, U            N/A            N/A              $32,610.00
        Networks                 Long Beach, CA 90814
                            [info@macauslannetworks.com]




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                                                                                                           Amount of unsecured claim
                                                                                                      If the claim is fully unsecured, fill in only
                                                                                                    unsecured claim amount. If claim is partially
     Name of creditor         Name, telephone number,          Nature of the      Indicate if     secured, fill in total claim amount and deduction
      and complete              and email address of              claim (for       claim is          for value of collateral or setoff to calculate
     mailing address,             creditorcontact              example, trade    contingent,                        unsecured claim.
      including zip                                              debts, bank    unliquidated,
           code                                                     loans,       or disputed                 Deduction
                                                                 professional                    Total       for value            Unsecured
                                                                services, and                   claim, if        of                 claim
                                                                 government                     partially    collateral
                                                                  contracts)                    secured
                                                                                                              or setoff

7.      Sanity                 1720 S. Bellaire Street            Trade             C, U           N/A           N/A               $32,610.00
        Check                        Suite 550
        Incorp                   Denver, CO 80222
                                  (720) 570-1668



8.      Argus                 1421 Cottage Street SW              Trade             C, U           N/A           N/A               $28,539.50
        Solutions                Vienna, VA 22180
                              [e.allain99@gmail.com]




9.      Moonlight                  5758 Hwy 89                    Trade             C, U           N/A           N/A               $21,750.00
        Wireless                Evanston, WY 82930
        LLC




10.     Value Rock              17744 Sky Park Circle            Landlord           C, U           N/A           N/A                $9,266.70
                                       Suite 100
                                   Irvine, CA 92614
                                    (949) 798-8100
                            [rcalderon@essexrealty.com]


11.     Avi-on Labs            2750 Rasmussen Rd,                 Trade             C, U           N/A           N/A                $4,741.24
                                      Suite L-10
                                Park City, UT 84098
                                   (877) 284-6687
                                 [eric@avi-on.com]


12.     PCH               8436 Auburn Blvd, Citrus Heights,       Trade             C, U           N/A           N/A                $4,000.00
        Property                     CA 95610
        Manageme                  (916) 676-2787
        nt Inc.                [james@pchpm.com]



13.     Enlighted          3979 Freedom Circle, Suite 210         Trade             C, U           N/A           N/A                $3,562.87
                               Santa Clara, CA 95054
                                   (650) 964-1094
                          [karyn.nguyen@enlightedinc.com]



14.     Curtis Stout            2400 Cantrell Road                Trade             C, U           N/A           N/A                $2,360.13
                                      Suite 100
                               Little Rock, AR 72202
                                   (501) 372-2555




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                                                                                                      Amount of unsecured claim
                                                                                                 If the claim is fully unsecured, fill in only
                                                                                               unsecured claim amount. If claim is partially
  Name of creditor          Name, telephone number,       Nature of the      Indicate if     secured, fill in total claim amount and deduction
   and complete               and email address of           claim (for       claim is          for value of collateral or setoff to calculate
  mailing address,              creditorcontact           example, trade    contingent,                        unsecured claim.
   including zip                                            debts, bank    unliquidated,
        code                                                   loans,       or disputed                 Deduction
                                                            professional                    Total       for value            Unsecured
                                                           services, and                   claim, if        of                 claim
                                                            government                     partially    collateral
                                                             contracts)                    secured
                                                                                                         or setoff

15.   Agilitech IT      5215 Ponderosa Way, Ste. D, Las      Trade             C, U           N/A           N/A                $1,598.00
                                Vegas, NV 89118
                                 (702) 720-1700
                              [david@agilitec.com]



16.   Deco                     2917 Vail Avenue              Trade             C, U           N/A           N/A                $1,434.30
      Lighting               Commerce, CA 90040
                                (310) 366-6866
                             [sam@get-deco.com]



17.   Uline                    12575 Uline Drive             Trade             C, U           N/A           N/A                $1,112.52
                           Pleasant Prairie, WI 53158
                                (800) 295-5510
                         [customer.service@uline.com]



18.   Turtle &                 1900 Lower Road               Trade             C, U           N/A           N/A                 $275.09
      Hughes                   Linden, NJ 07036
                                (732) 574-3600
                             [sovy.sy@turtle.com]



19.   Space             9560 Joe Rodriguez, El Paso, TX      Trade             C, U           N/A           N/A                 $185.55
      Border                      79927-2146
      Logistics                 (915) 859-1561




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                                 CREDITOR MATRIX


Current Powered by GE
111 N. Market Street
Suite 648
San Jose, CA 95113

Bank of America
100 North Tryon Street
Charlotte, NC 28255

American Express
200 Vesey Street
New York, NY 10285

Billd Exchange LLC
2700 W. Anderson Lane
No. 206
Austin, TX 78757

Legacy West Ventures Inc.
1502 Decatur Way
Rocklin, CA 95765

MacAuslan Networks
375 Redondo Avenue
PMB 348
Long Beach, CA 90814

Sanity Check Incorp
1720 S. Bellaire Street
Suite 550
Denver, CO 80222

Argus Solutions
1421 Cottage Street SW
Vienna, VA 22180

Moonlight Wireless LLC
5788 Highway 89
Evanston, WY 82930
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Value Rock
17744 Sky Park Circile
Suite 100
Irvine, CA 92614

Avi-on Labs
2750 Rasmussen Road
Suite L-10
Park City, UT 84098

PCH Property Management Inc.
8436 Auburn Blvd
Citrus Heights, CA 95610

Enlighted
3979 Freedom Circle
Suite 210
Santa Clara, CA 95054

Curtis Stouts
2400 Cantrell Road
Suite 100
Little Rock, AR 72202

Agilitech IT
5215 Ponderosa Way
Suite D
Las Vegas, NV 89118

Deco Lighting
2917 Vail Avenue
Commerce, CA 90040

Uline
12575 Uline Drive
Pleasant Prairie, WI 53158

Turtle & Hughes
1900 Lower Road
Linden, NJ 07036

Space Border Logistics
9560 Joe Rodriguez
El Paso, TX 79927-2146
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AssuredPartners of Nevada
375 E. Warm Springs Road
Suite 201
Las Vegas, NV 89119


First Insurance Funding
450 Skokie Boulevard
Suite 1000
Northbrook, IIL 60062-7917

CRC Group
17901 Von Karman Avenue
Suite 850
Irvine, CA 92614

Small Business Administration
409 Third Street, SW
Washington, D.C. 20024
